 

SEALED

PER 18 U.S.C. 3170

 

 

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

 

BY: L] INFORMATION [¥] INDICTMENT

 

CJ Other than Juvenile
0 Pre-Indictment Plea C Superseding Oo Defendant Added

Indictment CI Charges/Counts Added
Information

Matter Sealed: [| Juvenile

 

Name of District Court, and/or Judge/Magistrate Location (City)

EASTERN
Divisional Office

 

UNITED STATES DISTRICT COURT
DISTRICT OF LOUISIANA

 

 

C. Tron
Name and Office of Person oncoso

Furnishing Information on
THIS FORM

Name of Asst.
U.S. Attorney
(if assigned)

 

U.S. Atty Clother U.S. Agency
Phone No. (504) 680-3000

MAURICE E. LANDRIEU, JR.

 

 

PROCEEDING

Name of Complainant Agency, or Person (& Title, if any)
Bureau of Alcohol, Tobacco & Firearms

 

person is awaiting trial in another Federal or State Court
(give name of court)

 

CASE NO. 09-177 '"N"

 

USA vs.

Defendant, NICOLE WILLIAMS

 

4413 Maple Leaf Dr
New Orleans, LA

Address:

 

[J Interpreter Required Dialect:

 

 

 

 

 

 

| this person/proceeding transferred from another district
per (circle one) FRCrP 20, 21 or 40. Show District

 

Cl this is a reprosecution of charges
previously dismissed which were
dismissed on motion of:

O U.S. Atty oO Defense
SHOW

CT] this prosecution relates to a DOCKET NO.

pending case involving this same
defendant. (Notice of Related
Case must still be filed with the
Clerk.)

C] prior proceedings or appearance(s)
before U.S. Magistrate Judge
regarding this defendant were
recorded under

MAG. JUDGE
CASE NO.

 

 

 

Place of
offense

 

Orleans Parish County

 

Birth oO Male CL] Alien
Date _1981 Vv] , .
Female (if applicable)
-xx- 1257
Social Security Number FORK HE
DEFENDANT
Issue: CJ Warrant CJ Summons

Location Status:

Arrest Date or Date Transferred to Federal Custody

L) Currently in Federal Custody

CJ Currently in State Custody
CO Writ Required

C) Currently on bond

OC Fugitive

Defense Counsel (if any):

 

[J FPD [-] CJA [({] RET'D

L] Appointed on Target Letter

 

CJ This report amends AO 257 previously submitted

 

OFFENSE CHARGED - U.S.C, CITATION - STATUTORY MAXIMUM PENALTIES - ADDITIONAL INFORMATION OR COMMENTS

 

Total # of Counts 4

 

Title & Section/Offense Level

 

 

 

 

 

 

Set (Petty = 1 / Misdemeanor = 3 / Felony = 4) Description of Offense Charged Count(s)
4 21 USC Section 846 Conspiracy to possess wi/intent to distribute "crack" 1
4 18 USC Section 1512 Obstruction of an official proceeding 6
4 21 USC Section 841(a)(1) Possession wiintent to distribute "crack" 8
4 21 USC Section 843(b) Use of a communication facility 9

 

 

 

 

 

 

 

 
